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  (12) United States Patent                                                             (10) Patent No.:                  US 8,334,847 B2
       Tomkins                                                                          (45) Date of Patent:                       Dec. 18, 2012
  (54)    SYSTEMI HAVING USER INTERFACEUSING                                        2005/005.2458 A1   3/2005 Lambert ....................... 345,440
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  (*) Notice: Subject to any disclaimer, the term of this                           2009/0232367 A1* 9, 2009 Shinzaki ....................... 382,124
                 patent is extended or adjusted under 35
                 U.S.C. 154(b) by 851 days.                                                     FOREIGN PATENT DOCUMENTS
                                                                                   EP                  1667 O13          6, 2006
  (21) Appl. No.: 12/039,674                                                                             OTHER PUBLICATIONS
  (22) Filed:           Feb. 28, 2008                                              Lei Wanget al., Design and Implementation of a Novel User Interface
                                                                                   for Embedded Systems, International Symposium on the Intelligent
  (65)                     Prior Publication Data                                  Information Technology Application Workshops, pp. 247-250, IEEE
          US 2009/O1 O280.6 A1            Apr. 23, 2009                            2008. International Search Report from International Application
                                                                                   No. PCT/IB2009/006515, dated Feb. 26, 2010.
              Related U.S. Application Data                                        International Preliminary Report on Patentability from correspond
                                                                                   ing international application No. PCT/IB2009/006515, 10pgs, dated
  (60) Provisional application No. 60/981,464, filed on Oct.                       Feb. 24, 2011.
          19, 2007.
                                                                                   * cited by examiner
  (51)    Int. C.
          G06F 3/04                   (2006.01)                                    Primary Examiner — Bipin Shallwala
  (52) U.S. Cl. ........................................ 345/173; 34.5/156         Assistant Examiner — Afroza Chowdhury
  (58) Field of Classification Search .................. 345/156,                  (74) Attorney, Agent, or Firm — Brinks Hofer Gilson &
                                                                345/173            Lione
          See application file for complete search history.
                                                                                   (57)                            ABSTRACT
  (56)                     References Cited                                        A system includes a touchscreen display and an interface
                    U.S. PATENT DOCUMENTS
                                                                                   application. The interface application may control the touch
                                                                                   screen display to provide a container and a selectable user
         5.335,276 A * 8/1994 Thompson et al. ........... 380.266                  interface control. The user interface control may be selected
         5,465,401 A * 1 1/1995 Thompson ......       ... 455,558                  through manipulation of the touchscreen display in an area of
         6, 192.255 B1* 2/2001 Lewis et al. .....           ... 455,558
         6,707.449 B2 * 3/2004 Hinckley et al.              ... 345,173            the container proximate the user interface control. The user
         6,791,536 B2 * 9/2004 Keely et al. ................... 345,173            interface application may identify a gesture function in
         6,892,359 B1       5, 2005 Nason et al.                                   response to manipulation of the touchscreen display in an
         6,975,306 B2 * 12/2005 Hinckley et al. .............. 345,173             area of the container when the manipulation has a motion
         7.362,358 B2 * 4/2008 Nakayama ......               348,229.1             magnitude in a plane of the touchscreen display exceeding a
         7,382.358 B2 * 6/2008 Kushler et al. ..             ... 345,168           threshold value.
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         8,120,586 B2 * 2/2012 Hsu et al. ...................... 345,173                              17 Claims, 6 Drawing Sheets
                                                                                               Memory storage
                                                                                                       110
                                                                                                     Interface
                                                                                                    application
                                              inputoutput           Processor                          113
                                                    140                105                      User application
                                                                                                        15

                                                                                               Operating system
                                                                                                        2O

                                                                  User interface
                                                                       125


                                              100                    Display
                                                                       130



                                                                   Mechanical
                                                                    controls
                                                                      135
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                                                       Container
                                                                 245                                             305




                                                      Container                                        w
                                                         245                                                     310
                                                      Text area
                                                         235




      Figure 3                - - - - - - - a-d
                              was   appas   we   wa   ya   and   w   aws   saw as   aws   wins   -w-   w


                                                      Container
                          |                              245                                                    315


                                            215




                                                           245                                                  320


                                                                              220
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                                     Detect manipulation on
                                    display in Container area
                                              605




                                              Does
        ldentify function                   magnitude               is movement
        associated with               of movement extend           an active area of
          movement                     beyond threshold           selectable object?
            615                              value?                      625
                                              61O.




       Execute function                                            ldentify function
       associated with                                          associated with object
          movement                                                    Selection
              620                                                        630




                                                                   identify function
                                                                associated with object
                                                                      Selection
                                                                         635


                                        Figure 6
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                                                        US 8,334,847 B2
                                 1.                                                                    2
      SYSTEMI HAVING USER INTERFACEUSING                                the figures are not necessarily to Scale, emphasis instead
        OBJECT SELECTION AND GESTURES                                   being placed upon illustrating the principles of the invention.
                                                                        Moreover, in the figures, like referenced numerals designate
              CROSS-REFERENCE TO RELATED                                corresponding parts throughout the different views.
                          APPLICATIONS                                     FIG. 1 is a system that includes a user interface that may
                                                                        use object selection and user gestures on a touchscreen dis
     The present application claims the benefit of priority from play to execute functions.
  U.S. Provisional Application No. 60/981,464, filed Oct. 19,              FIG. 2 shows components that may interact with and con
  2007, which is incorporated by reference.                          10
                                                                        trol the display of the user interface.
                                                                           FIG. 3 shows a multilayer arrangement of objects of the
             BACKGROUND OF THE INVENTION                                user interface with respect to the container.
     1.Technical Field.
                                                                           FIG. 4 shows manipulation of the touchscreen display to
                                                                        select an object or control.
     The present invention relates to a user interface and, more           FIG. 5 shows manipulation of the touchscreen display to
  particularly, to a system having a user interface using objects 15 generate     a gesture to execute a corresponding function.
  selection and gestures to interface with a user.                         FIG.  6 is a process to implement a user interface having
     2. Related Art.
     Processor-based devices are used in a wide range of appli          selectable  objects and gesture functionality.
  cations. MP3 players play audio from stored media content.                 DETAILED DESCRIPTION OF THE PREFERRED
  Video players may display streaming video from a memory                                      EMBODIMENTS
  storage device, a private network, and/or the Internet. Cellular
  phones may display streaming video from a memory storage
  device, a private network, the Internet, and/or another cellular         FIG. 1 shows a system 100 that includes a user interface
  phone subscriber.                                                     that may use object selection and user gestures on a touch
     Such devices may have an interface to facilitate interaction 25 screen display to execute functions. System 100 includes a
  with the various functions that it offers. The interface may processor 105 that may interface or access a local or remote
  include a hardwired interface and/or a virtual interface. Hard        memory storage 110. Memory storage may retainan interface
  wired interfaces may include pushbutton Switches, rotary application 113, one or more user applications 115, and an
  Switches/potentiometers, sliders, and other mechanical ele operating system 120. Interface application 113 may be
  ments. Virtual interfaces may include virtual buttons, virtual 30 executable by the processor 105. It may determine how a user
  sliders, virtual rotator controls, function identifiers, and other    interacts with system 100 through user interface 125. User
  visual elements. In a combined interface, function identifiers        interface 125 may include a display 130, such as a touch
  may be positioned on a display adjacent corresponding screen display, and/or mechanical controls 135.
  mechanical based items, such as Switches.                                Processor 105 may interact with other components through
     The development of a virtual interface may become com 35 various input/output interfaces 140. Input/output interface
  plicated when the interface displays controls and/or images 140 may include an Internet gateway, WiFi transceiver, imag
  associated with many functions. The number of controls and/ ing device, USB interface, FireWire interface, an MP3
  or images generated may result in a crowded display. Display decoder, DVD decoder or player, receiver, and/or other input
  crowding may make it difficult for the user to select displayed and/or output device.
  objects associated with these functions due to their close 40 FIG. 2 shows how the components of FIG. 1 may interact
  proximity with one another.                                           with and control the display 130 of user interface 125. In FIG.
                                                                        2, the interface application 113 may interact with display 130
                             SUMMARY                                    through a display driver 205. Interface application 113 may
                                                                        be a vector and/or movie clip based application, such as a
     A system includes a touchscreen display and an interface 45 FLASHR player that may be adapted to play a compressed
  application. The interface application may control the touch vector format object such as a .swf file 210. The .swf file 210
  screen display to provide a container and a user interface may include movie clip based controls employed by the user
  control that is selectable by a user. The user interface control interface 125.
  may be selected through manipulation of the touchscreen                  The user interface application 113 may provide controls,
  display in an area of the container proximate the user interface 50 such as movie clip based controls, to the display driver 205 for
  control. The user interface application may identify a gesture output on display 130 to implement a virtual interface. These
  function in response to manipulation of the touchscreen dis controls may be arranged on the display 130 according to user
  play in an area of the container when the manipulation has a interface application 113. In FIG. 2, the movie based clips
  motion magnitude in a plane of the touchscreen display include controls 215, 220, 225, 230, and 235, that may be
  exceeding a threshold value.                                       55 selectable objects. A text area 240 may display input and/or
     Other systems, methods, features, and advantages of the output text. Additionally, or in the alternative, text area 240
  invention will be, or will become, apparent to one with skill in may be replaced by or Supplemented with an image display
  the art upon examination of the following figures and detailed area that may display images, such as still images, anima
  description. It is intended that all Such additional systems, tions, and/or video. Controls 215 through 235 and text area
  methods, features and advantages be included within this 60 240 may be arranged within a container 245. Such as a movie
  description, be within the scope of the invention, and be clip container in a FLASHR) player environment.
  protected by the following claims.                                       FIG. 3 shows a multilayer arrangement of the various
                                                                        objects of the user interface with respect to container 245. In
          BRIEF DESCRIPTION OF THE DRAWINGS                             FIG. 3, container 245 may be disposed on a first display layer
                                                                     65 305. Text area 235 may be disposed in the area of container
     The invention may be better understood with reference to 245 on a second display layer 310. Selectable controls 215,
  the following drawings and description. The components in 225, and 230, may be disposed in the area of container 245 on
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                                 3                                                                 4
  a third display layer310. Selectable controls 230 and 235 may and executed at 620. If the magnitude of the motion does not
  be disposed in the area of container 245 on a fourth layer 310. extend beyond the threshold value, an operation may be
  One or more of the selectable controls 215 through 235 may executed at 625 to determine whether the manipulation was
  overlap one another on different layers of the multilayer proximate an active area of a selectable object. If it was in
  arrangement. Alternatively, or in addition, the selectable con 5 Such an active area, the function associated with the object
  trols 215 through 235 may be disposed on the same layer of selection may be identified at 630 and executed at 635.
  the arrangement in a non-overlapping configuration. Layers           The methods and descriptions described above may be
  may be visible or translucent (e.g., invisible).                   encoded in a signal bearing medium, a computer readable
     FIG. 4 illustrates manipulation of the touchscreen display medium such as a memory that may comprise unitary or
  130 to select an object/control. In FIG.4, selection of control 10 separate logic, programmed within a device Such as one or
  210 is shown. To select control 210, the user may touch the
  touchscreen display 130 in an area proximate control 210 and more        integrated circuits, or processed by a controller or a
  within the boundaries formed by arrows 405 and 410. The Software orIflogic
                                                                     computer.     the methods are performed by software, the
                                                                                         may reside in a memory resident to or
  interface application 113 may identify the manipulation as
  selection of object 210 when the magnitude of any motion of 15 interfaced to one or more processors or controllers, a wireless
  the manipulation is below a threshold value. The magnitude communication interface, a wireless system, an entertain
  of the motion may be determined by the difference between ment and/or controller of a vehicle or types of non-volatile or
  the coordinates on the touchscreen display at which the volatile memory remote from or resident to a detector. The
  manipulation begins and the coordinates at which the memory may retain an ordered listing of executable instruc
  manipulation ends. These coordinates may be obtained by tions for implementing logical functions. A logical function
  measuring the motion using the container 245. In a FLASHR) may be implemented through digital circuitry, through source
  environment, the magnitude of the motion may be determined code, through analog circuitry, or through an analog source
  using an ActionScript(R) routine associated with the container Such as through an analog electrical, or audio signals. The
  245.                                                               software may be embodied in any computer-readable
     When the magnitude of the motion is below the threshold 25 medium or signal-bearing medium, for use by, or in connec
  value on the display level 305 having the container 245, the tion with an instruction executable system, apparatus, device,
  interface application 113 may execute a hierarchical search of resident to a vehicle or a hands-free system communication
  the levels within the container area to determine whether the      system or audio system. Alternatively, the Software may be
  user has attempted to select an object. The hierarchical search embodied in media players (including portable media play
  may involve looking through the layers in the area bounded 30
  by arrows 405 and 410. If the layers are arranged in a manner ers)     and/or recorders, audio visual or public address systems,
                                                                     desktop computing systems, etc. Such a system may include
  shown in FIG. 3, the search may end at layer 320, which a computer-based system, a processor-containing system that
  includes the selectable control 220.
     If a selectable control is found in the area bounded by includes an input and output interface that may communicate
  arrows 405 and 410, the interface application 113 may com 35 with an automotive or wireless communication bus through
  municate with another application to execute the function any hardwired or wireless automotive communication proto
  associated with the selectable control. In FIG. 2, the interface   color other hardwired or wireless communication protocols
  application 113 may communicate with the user application to a local or remote destination or server.
  115 and/or the operating system 120. Additionally, or in the         A computer-readable medium, machine-readable medium,
  alternative, the interface application 113 may execute the 40 propagated-signal medium, and/or signal-bearing medium
  function associated with the selectable control automatically. may comprise any medium that contains, stores, communi
     FIG. 5 illustrates manipulation of the touchscreen display cates, propagates, or transports Software for use by or in
  130 to generate a gesture that may be identified by the inter connection with an instruction executable system, apparatus,
  face application 113 to execute a corresponding function. In or device. The machine-readable medium may selectively be,
  FIG. 5, the user executes a gesture designated by arrow 505. 45 but not limited to, an electronic, magnetic, optical, electro
  The gesture 505 starts when the user presses the touchscreen magnetic, infrared, or semiconductor system, apparatus,
  display at 510 and discontinues pressing the touchscreen at device, or propagation medium. A non-exhaustive list of
  515. The interface application 113 determines the magnitude examples of a machine-readable medium may include: an
  of this motion using the start location 510 and end location electrical or tangible connection having one or more wires, a
  515 of the gesture 505. If the magnitude of this motion/ 50 portable magnetic or optical disk, a Volatile memory Such as
  manipulation exceeds the threshold value, the interface appli a Random Access Memory "RAM” (electronic), a Read-Only
  cation 113 may treat the manipulation as a gesture by the user. Memory “ROM, an Erasable Programmable Read-Only
  The magnitude and/or direction of the motion may be com Memory (EPROM or Flash memory), or an optical fiber. A
  pared to representations of available gestures retained in machine-readable medium may also include a tangible
  memory. If a function corresponding to the gesture is found, 55
  the function may be executed by the user application 115 medium upon which software is printed, as the Software may
  and/or operating system 120. Additionally, or in the alterna be electronically stored as an image or in anotherformat (e.g.,
  tive, the function associated with the gesture 505 may be through an optical scan), then compiled by a controller, and/
  executed by the interface application 113.                         orinterpreted or otherwise processed. The processed medium
     FIG. 6 illustrates operations used to implement a user 60 may then be stored in a local or remote computer and/or
  interface having selectable objects and gesture functionality. machine memory.
  At 605, manipulation on the display in the area of a container       While various embodiments of the invention have been
  having one or more selectable objects, such as one or more described, it will be apparent to those of ordinary skill in the
  movie clips, is detected. The magnitude of the movement of art that many more embodiments and implementations are
  the manipulation may be compared to a threshold value at 65 possible within the scope of the invention. Accordingly, the
  610. If the magnitude exceeds the threshold value, the func invention is not to be restricted except in light of the attached
  tion associated with the movement may be identified at 615 claims and their equivalents.
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                                                                                                         6
     I claim:                                                                   the touchscreen display in an area of the container proxi
     1. A system comprising:                                                    mate the user interface control when the touch or the
     a processor;                                                               contact has a motion magnitude in a plane of the touch
     a touchscreen display interacting with the processor;                      Screen display that does not exceed a threshold value,
     an interface application executable by the processor to                    and where the user interface application identifies ages
        control the touchscreen display, the interface application              ture function in response to the touch or the contact of
        controlling the touchscreen display to provide a con                    the touchscreen display in an area of the container when
        tainer and user interface controls, the user interface con              the touch or the contact has a motion magnitude in the
         trols including a first user interface control provided on 10          plane of the touchscreen display exceeding the threshold
                                                                              value.
         a first layer of a multilayer display arrangement and a
         second user interface control provided on a second layer          9. The  system of claim 8, where the container is a movie
         of the multilayer display arrangement that overlaps the based clip.
         first layer, where the interface application detects a is a10.movie-based
                                                                               The system of claim 8, where the user interface control
         motion magnitude of a touch or a contact in a plane of the 15 11. The system clip.   of claim 8, further comprising a user appli
         touchscreen display within the container, identifies cation executable by                the processor, where the user application
         selection of a selected user interface control of the user
                                                                       is  responsive    to   selection   of the user interface control as
         interface controls in response to the touch or the contact identified by the interface application
         of the touchscreen display proximate to the selected user corresponding to selection of the user interface    to execute a function
         interface control when the detection indicates that the                                                                 control, and
                                                                       where    the user  application    is responsive  to
         touch or the contact has a motion magnitude in the plane tion by the interface application to execute a function  gesture identifica
         of the touchscreen display that does not exceed a thresh sponding to the identified gesture.                                   corre
         old value, and identifies a gesture when the detection            12. The system of claim 8, where the container comprises
         indicates that the touch or the contact has a motion
                                                                       a  plurality  of user controls disposed on multiple display lay
         magnitude in the plane of the touchscreen display that 25 ers of the multilayer
         exceeds the threshold value.                                                              display arrangement.
                                                                           13. The   system
      2. The system of claim 1, where the container is a movie executes a hierarchical search of claim   12, where the interface application
   based clip.                                                                                                of the multiple layers to deter
      3. The system of claim 2, where the selected user interface through the touch or the contactofof the
                                                                       mine    which    of   the   plurality       user controls is selected
                                                                                                                      touchscreen display in
   control is a movie-based clip.                                   30 a given area of the container.
      4. The system of claim 1, and further comprising a user              14. A method of providing a user interface comprising:
   application executable by the processor, where the user appli           detecting   a touch or a contact on a display in a container
   cation is responsive to selection of the user interface control            area  having     selectable objects, the selectable objects
   as identified by the interface application to execute a function           including    a  first  selectable object provided on a first
   corresponding to selection of the user interface control, and 35           layer  of a  multilayer    display arrangement and a second
   where the user application is responsive to gesture identifica             selectable   object   provided   on a second layer of the mul
   tion as determined by the interface application to execute a               tilayer display    arrangement     overlapping the first layer,
   function corresponding to the identified gesture.                       comparing     a  magnitude     of the  movement of the touch or
      5. The system of claim 1, and further comprising an oper                the contact to a threshold value;
   ating system executable by the processor, where the operating 40 executing          a function associated with the movement when
   system is responsive to selection of the user interface control            the  comparison       indicates that the magnitude of the
   as identified by the interface application to execute a function           movement      of the  touch  or the contact extends beyond the
   corresponding to selection of the user interface control, and              threshold   value;
   where the operating system is responsive to gesture identifi
   cation by the interface application to execute a function cor 45 detecting area  of
                                                                                       whether the touch or the contact is in an active
                                                                                       one   of the selectable objects when the compari
   responding to the identified gesture.                                      Son indicates    that the magnitude of the movement of the
      6. The system of claim 1, where the container is disposed               touch or the contact is below the threshold value; and
   on a third layer of a multilayer display arrangement.                   executing a function associated with a selection of the one
      7. The system of claim 6, where the interface application               of the selectable objects when the touch or the contact is
   executes a hierarchical search of the multiple layers to deter 50          detected to be in the active area of the one of the select
   mine which of the user interface controls is selected in a given           able objects.
   area of the container.
      8. A system comprising:                                              15. The method of claim 14, further comprising generating
     a processor;                                                      the container area on a third layer of a multilayer display
     a touchscreen display communicating with the processor; 55 arrangement.
                                                                      16. The method of claim 15, where the generation of the
     an interface application executable by the processor to container
        control the touchscreen display, the interface application clip usingarea  comprises generating the container as a movie
                                                                              a movie-clip based application.
        providing a container on a first layer of a multilayer        17. The method of claim 15, where the selectable objects
        display arrangement and a user interface control on a comprise
        second layer of the multilayer display arrangement over 60 application.movie-clips generated using a movie-clip based
        lapping the first layer, where the user interface control is
        Selectable by a user in response to a touch or a contact of
